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                                      United States Dept. of Labor
                                  Office of Administrative Law Judges

                                        case #: 2019CFP00001   1




                                                     )
                                                     )
                DelSignore      v. NOKIA             )       Exhibit L
                                                     )
                                                     )




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[L-1]   lntroduction
The Universal Service Fund is a telecommunications subsidy that is paid for by US consumers
on their phone and cable bills. This fee is collected by the US government and distributed to a
network of approximalely 2400 smalltelecommunications corporations (small telcos) in all 50
states and several US territories.



t https://www.oali.dol. gov/#
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L2: The publicly stated purpose of the USF is to support the deployment of broadband
technologies to rural areas of the US. The small telcos thus receive USF monies notionally
because they provide modem telecommunications services to rural areas.

L3:   The smalltelcos must report annual "billable revenue" data to the government2, which the
FCC then uses to determine how much USF money each smalltelco will receive in the next
year. This revenue data is also used by the FCC in an annual report to Congress which is used
to justify the continuation of the subsidy.


L4: This exhibit details wire fraud that is being committed by the large telcos in order to affect
the billable revenue reported to the govemment. The evidence for this wire fraud comes from
the plaintiffs own work materials and also from numerous publicly available sources.

L5: The central charge to (Del Signore vs Nokia)3 is that the large telcos are detuning their
networks in a way that inflates the billable revenue of the small telcos, and that after the plaintiff
discovered and reported evidence of this in 2009, he was blacklisted and harassed out of
career.

L6: The USF monies    are collected from US phone bills and paid to the UniversalServices
Administration Corporation, which is a corporation that is owned by the US govemmenta.
USAC then distributes this money to the small telcos as directed (annually) by the FCC.




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    httos://www.usac.org/ res/documents/conUpdf/forms/2019/2019-FCC-Form-499A-Form-lnstructions.odf
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    Feb 2019 amended complaint:
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    httos://en.wikipedia.org/wiki/State-owned enterprises_ofjhe United_states
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17: This exhibit will detail evidence of wire fraud in the US cellular networks that is related to
this billable revenue. ln particular, evidence is detailed that shows the four large US cellular
telecommunications corporations (large telcos), Verizon, AT&T, Sprint, and T-Mobile, are
detuning their networks in a manner that inflates the number of cellular phone roaming
operations that occur between the large and small telco's networks in order to inflate the
reported billable revenue of the small telcos.




[L-8]     Origin of   the Universal Service Fund



The provenance of the current USF fee regime dates to the Telecommunications Act of 19965,
which itself was a modification to the Communications Act of 1934. From the text of the 1996
Act, one goalwas (emphasis added):

            "To promote competition and reduce regulation in order to secure lower prices and
            higher quality services for American telecommunications consumers and encourage
            the rapid deployment of new telecommunications technologies."



The 1996 Act gave the FCC authority to collect the Universal Service Fee line item on US
phone and cable bills in order to achieve this and other related goals. Subsequently, in a 1998
report to Congress6, a split FCC commission (with one dissent) outlined the planned "High Cost"
subprogram of the Universal Service Fund. The USF High Cost subsidy program was then
authorized with the following inconcise FCC announcement in Dec 2000:

           "The Federal-State Joint Board on Universal Service adopted and released the attached
           Recommended Decision recommending that the Commission use the Rural Task Force's
           Recommendation regarding reforms to rural high-cost universal service support mechanisms as
           a foundation for implementing a rural universal service plan. Federal-Stafe Joint Board on
           UniversalSerurce, (CC Docket No. 9645, Released 12122100) FCC 00J-4'




5
    https://www.fcc.govigeneral/telecommunications-act-1996
6   https://transition.fcc.gov/Bureaus/Common-Carrier/Reports/fcc98067.pdf
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L9:  The FCC's USF websiteT, however, provides a relatively concise overview of the four main
subprograms of the USF subsidy:




     Home Wirel,n€



     Universal Service Fund
     Prior to the Telecommuni€ations Ac of 1996,       $e   Universal Service Fund {USD operated as a merhanism by whlch interstate iong dlstance carriers were
     assessed to subsidlze telephone seMce to low-incom€ households and           highro$   areas. The communicatlons Act ol   1   934 stated that all people ln the United
     States shall have ac(ess to rapid, efficient nationwide communications seMce with adequate facilities at reasonable charges.

    The Teletommunictions Act      of 1996 expanded the traditional definition of uniwrsal s€ruice - affordable, nationwide telephon€ sMce to include among other
    things rural health care provideE and eligible schools and libraries. Today. Fcc prmdes universal 9eryice support throtlgh four mechanisms:

          t


          2. Lo , lntome Support Mfthantsm asslsts low-income customers by helping to pay for monthly telephone charges as well as connedion charges to
              initiate telephone seryice.
          3. Rural Health Care Suppon Me(hanism         allos   rural health care providers to pay rates for telecommunications seruices similar to   tho*   of their urban
              counterparts, making iel€heelth seruics affordable.
          4. s{hoois and Libraries Support Mechanism. popularly know as dle "E-Ratq" provides telecommuniGtion servi(es (e.g,, local and loDg-disrince callin&
              high-speed lines), lntemet    accst   and iffernal connec,ons (the equipment to deliver th€se sru!(es) to elagible schools and Iibraries.




L10:  The wire fraud detailed in this complaint pertains to the "High Cost Support Mechanism"
subprogram of the USF and all subsequent references to the "USF" refer specifically to the USF
high cost program.



L11:   The Telecommunications Act of 1996 (sec. 102) defined the eligibility requirements for the
small telcos. These requirements allow the small telcos to rent usage time on the large telcos
equipment:




7
    https://www.fcc. gov/general/universal-service-fund
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                   '(r) ELIGIBLE TELECOMMLJNICATIONS CARRIERS- A commnn canier
                  designated as an eligible telecommunications canier under
                  pangraph (2) or B) shall be eligible ro receive universal
                  seruice support in accordance with section 254 and shall"
                  thruughort the sewice area for whidr the designation is
                  received-
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L12: This eligibility requirement helps to elucidate why the large telcos   would want to detune
their networks to the benefit of the small telcos; namely that the small telcos are permitted to
rent usage time on the large telcos networks and such rental agreements can be structured
such that the USF money flows back to the large telcos, presumably with the smalltetcos each
keeping their cut.




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     [L-13] USF payment data and political sub-structure of the USF

     To our very great fortune, Congress mandated that USAC make the USF payment data publically
     availables. The data from the high cost program is published as a 270MB text file that contains
     monthly payment data to every USF small telco, over the entirety of the program, broken down by
     subprogram and US state. This data file is not immediately amenable for use in a spreadsheet;
     the data has been made into a form that is as verbose as possible, with 4.6M rows of data, which
     are randomized in time before Apnl2017. The short c++ program given in exhibit Ke was thus
     written and used to process the USAC datafile into the spreadsheets linked below.

         L14; A plot of monthly
                           payments by programlo shows that large changes in the funding levels
     of the subprograms have occured in election years and following the two presidential transitions
     in 2009 and 2Q17.


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L15:   The first major funding change occurs in the summer ol 2004 when approximately $50
million dollars per month are added to one of the specific USF sub-program ("|CLS") outlays. A
search of FCC USF announcementsll for 2004 yield no information on this change.

We next see that as soon as Obama took office, there is an immediate $50 million dollar per
month reduction to this very same sub-program. Then, approximately 10 months later, for
reasons still unknown, the funding to the sub-program is restored. Another search of FCC USF
announcementsl2 for 2009 also yields no information on these changes.

There is an unknown change in 2011 where several programs appear to be combined.

L16: The next  major change in funding level comes in 2015 when the "cacm" (connect america
cost model) program is turned on by Obama13. After the video below was released, monthly
USF outlays increase -$60 million dollars per month, causing everyone's phone billto go up by
approximately a quarter.

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            Obama to push for cheape[ speedier broadband in




L17:   Data from the USF file is presented below that shows the majority of the $60M/month
cacm increase went to a small number of states, and that within each state the increase went to
only a few small telcos.


11
   https://www.fcc.gov/general/universal-service-high-cost-areas-connect-america-fund
12
   httos://www.fcc.gov/general/universal-service-high-cost-areas-connect-america-fund
13
   httos://www.theverqe.com/2015/1/13/7541253/obama-wants-cheaoer-broadband-inthe-us
     https ://www.youtu be.com/watch?v=                    N   bolSoM       N   ggs&t=      1   9s
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L18: The next  major change is in Jan 2017, when, due to Donald Trump's surprise victory, Ajit
Pai becomes FCC chair and turns on the "acam" (alternative connect america model) program.
This change immediately reorganizes the USF sub program payments as shown. The overall
USF monthly funding level increases only slightly, but there are a small number of small telcos
who see large increases in their monthly USF receipts, such as Pioneer Telecom in OK., as
shown below:



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(note: Y axis is per month, six zeros)




L19:    The obvious political timing and nature of these program changes then implies that both
political parties are colluding with the large telcos, presumably to abscond with some fraction of
the money that is collected from this subsidy.
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     L2O: The plaintiff has also found that his home state AG (lL) has expressed a curious
     disinterest in this case. After submitting information related to this fraud, I was contacted by a
     junior council, whom I had two conversations with over a six week period. This council told me
     that prosecuting something like this was "out of her legislative purview". I described to her a
     scenario in which the state AGs could prosecute this matter as a class action lawsuit and asked
     if she knew who I could contact about this. She replied to me in a slow drawn out manner
     'Oh..... 1..... wouldn't.... know... who... to.. send you to on that...". She did tell me in the
     second callthat I should pursue this matter as a federal SOX claim through OSHA, and then
     ended the call emphatically with "don't call us back, we will call you if we find anything".
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The USF diagram is modified thusly:




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ll-211 who are the smalltelcosl4                              ?


Using lowa as an example, a sorted list ($/yr) of small telcos is shownls                                                                      The smalltelcos that
receive USF money through the cacm and acam programs are noted.

L22: The largest annual recipient is "lTS - IOWA TELECOM", which receives $28M/year. A
google search reveals an association with Baring ING bank (in England), and then to
Windstream Holdings (in AK).

L23: The Wikipedia entry for Windstream Holdings indicates that it has operations in 21 states
and $68 dollars in annual revenue. For comparison, the total USF subsidy pays $14.58
annually.



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L24: At the bottomof the !ist, it appears that there are entities that have begun submitting
FCC-499 forms but do not yet have any KPls in lowa.




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    TruConnect ls Now One of the Fastest Growing Wireless
    Companies in the United States
    Emerging wireless provider brings innovation to expanding underserved customer
    base

    Dallas, Texas, April 29,          2olllruConnecl,   a ri$ng brand anrong U      S   wtreless companles. has ernerged as one
    of lhe fastest groriirng wkeless co.npanies in the Unired Stales *ccording fo dala from
                                       The conpany has grown more
                                        provide aflordable solutions to
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"broadband investment" by the small telcos



L25: The Barnes City Telephone Coop16 is a good example. This small telco is the lowest
paid acam small telco in lowa; its USF subsidy approximately doubled to $1401(yr after Ajit Pai
turned on the acam program in Jan 2017.

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 IA                        EAR'|IERS TEL CO - BAT                                                                                                        129470
 IA                        FENTON CO.oP TEL CO                                                                                                           t50txi5
 IA                        FTI{TC   WRELESS                                                                                                              200652
 IA                        SOUTH SLOPE COOPERATIVE                                                                                                       1990G0
 IA                        ALI.AI'AI(EE€LAYTON     ELECTRIC COOPERATIVE INC                                                                               72673
                           BARTIES CIIY COOP
 !q                        PRATR}E8URG TEL CO
 IA                        REASI'IOR TELEPHONE COMPANY           BARNES CITY COOP annual USF subsrdy 2003-2'18
 H                         SKYTINX LC                            :j l !r:r   ir .i
 IA                        VAN BT.IRE?,I W|RELESS COMPANY
 IA                        KcTcPCs                           I


 IA                        ricwA RSA No. 2    uurreo plnrrlEd
 IA                        FARuERs    (MANTLLA)              |


 IA                        CLAY COUTITY COUUUrutCarPr'ts     I


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 IA                        WESTSIDC II.IDEPENDENT                                                sz.z36-                                       'Tit2584
 IA                        CCM WRELESS II'IC.                                                    $50.545             67644          676{4          67644
 LA                        BERIIARD COII,IMUNICATIONS INC.                                       $49.844             66708          56708          60708




Barnes City lowa is a smallfarming town 80 miles east of Des Moines and approximately 20
miles south of the nearest l-80 interchange.




16
     http://apps.fcc.gov/cgb/form499/499detail.cfm?FilerN                            um=809238
        Case: 1:20-cv-04019 Document #: 1-3 Filed: 07/09/20 Page 14 of 44 PageID #:125




                 Bames City Telephme Co
          =




          Barnes City Telephone Co
          relephone:,rntpaiV



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                                                 !hone



                 45   Broadway St. Barnes City, lA 50027

                 G65J+8J Bam$ Clty, Pleasant GrcYe, lA

                 (64r) 6445214




   Des Moines
   8O miles
<-E1*
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  likely a
  "small cell"




L26:   The small telcos are required to own some of the equipment that is used to deliver
subsidized telecommunications services. Ownership of a single "small cell" would satisfy this
requirement. The smalltelco would then presumably be free to rent network elements (such as
along the nearby state highways) from the large telcos in order to increase their subsidy
receipts.
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127: A short   google search of "Barnes City Telephone" leads to the following FCC documentlT,
which details a series of associations with larger entities, eventually leading through a company
called "iWireless" and then to Deutsche Bank and T-Mobile.



                                                                                            FCC FORM60S
                                                                                                  EI(}II TTA
                                                                                                   Pagc I of 3


                DESCRIPTION OF LEASE AND PI.JBLIC INTEREST STATEMENT

            Barnes City Cooperative Telephone Company ('Bames City Cooperadve") and Iowa
     Wireless Services Holding Corporation ('IWSHC") (collectively, the "Parties") hercby notify
     the Commission that they have entered into a shon+erm spcctrum manager lease from Bames
     City Cooperative to IWSHC of the following Personal Communications Services C'PCS')
     spectrum (the   "t*ased Spectrum"):

      CrSI!       Llm               Laas       UIETB                I.l-d/fnr.           S.'rh/ilxt'{ffi}
                                                rdd
      WPTJEI5    Bamas City-        TWSHC      ls!IAUJI-          Entire lims&d   eru   Endre lirensrd   +{u!m
                 Cmp€rarive                    Ds! Moitres-
                 T.tephonr                     Quid Ci.ies
                  Comprny                      (Subffiker
                                                  252)



              By way of         background, IWSHC and irs parent, Iowa Wireless Services, LLC
     ("lowa Wireless"),        were formed for the purpose of providing advanced wircless
     telecommunications        services in Iowa.r IWSHC is an FCC liccnsee that already holds and
     opemtes a network on several PCS and AWS licenses in the markets centered around
                                                                                lowa. The
     company has a demonstrated track record of providing broadband PCS and AWS services to
     historically underserved rural areas by pmviding high quality and innovative wireless
     tslecommunications and data services directly to subscribers, or through a ngtwork of
     independent telephone companies oporating under a common brand name, i.o., "iWireless."
     IWSHC is thus well-quali{icd and well-positioned to utilize the Leased Spectrurn.

            IWSHC      is a wholly owned subsidiary of Iowa             Wireless Services, LLC, whieh is
     comprised of two members: INS Wireless, lnc. (a wholl,v owned subsidiary of Applicant lowa
                                                              I
     Nctwork Services, Inc.), and VoiceStream PCS Iowa Corporation ("VoiceStream PCS").
     Dcutsche Telekom AG ("DT), a Gernan company, holds an indirect foreign ownership imerest
     in lowa Wireless Services, LLC, and its affiliate, MSHC. Thmugh a series of intermediate
     subsidiaries, DT holds a 100% ownership interest in T-Mobile USA, Inc. (f/k/a VoiceStream
     Wireless Corporation) ("T-Mobile USA). T-Mobile US.A indireetly holds a 100% ownership
     interest in T-Mobile and VoiceStruam PCS. DT is authorized by the Commission ro hold up to
     and including a 60% indirec ownership interes in IWSHC.:




https://wireless2.fcc.gov/UlsEntrv/attachments/attachmentViewRD.iso?aoplTvpe=search&fileKey=978426
48&attachmentKey=20253457&attach            mentl nd=aoolAttach
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[L-28] how the early wire fraud works

 The smalltelcos are required to provide "telecommunications services" in qualifying areas and
then to convert counts of these services into a billable revenue dollar amount which is reported
annually to USAC on their FCC499 form18.

  USAC administers random audits to 5% of the small telcos per year to veriff that their reported
billable revenue corresponds to actual counts of telecommunications operations that occured in
their networks (unknown conversion factor). Such operational counts are generated by cellular
switching systems and typically referred to as KPls (key performance indicators).

L29:   ln cellular networks, there are three types of mobile phone operations that could be
readily be categorized as a "telecommunications service" and converted to billable revenue.

registration
connections
roaming

 Cellular phones register for service with the overlaying network when first powered on or when
entering a new registration area. Once registered, they can make connections to the network to
transfer voice or data. While in the connected state they can also use roaming functions to
transfer the connection to another tower or a different sector on the same tower.

L30:    ln theory, it would be possible to use any of these three operations to generate a regime
of billable revenues that could be used by all the small telcos nationwide. However there could
be considerable complexity in any regime and it would be desirable to make the regime(s) as
simple as possible.

L31: Based on the harassment incidents around the Plaintiffs attempts to change the
"t drop_int" parameter in 2010 and 2015 (paragraphs 364 and 47 in complaint), it appears that
roaming operations were being used at those timesle to generate billable revenue using the KPI
counts from the 1X voice and 3G data systems2o.




18
    httos://www.usac.oro/ res/documents/conUodf/forms/2019/2019-FCC-Form-499A-Form-lnstructions.pdf
ls Additionally  I have recalled conversations I had with Dave Rossetti on the !-drop_int parameter in which I recall
him telling me that it was set to its current value sometime in the early 2000s.
20
   the 1X reverse link (phone to tower) signalling interface was reused in the 3G EVDO system. All of the technical
details given pertain to both systems.
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                                2019 hsiructioru tothe Telccorrrnunicxkms Rrpoding Worl$l56t,   FCt F*m,199-A




                                    Crttgory of Revcuc                            l<rport otr
                                    Per-minute switched access clurges and        Line 104
                                    reciprocal compensation
                                   Reve*rues received from carriers as            Line 30'6
                                   payphorrc comp€nsation for originating
                                    toll calls
                                    Charges for physical collocatior of           Line 307
                                    equipment pursuant to 47 U.S.C. $
                                    25   l(cX6)
                                    Revenues that filers receive as uDivesrl      Line 308
                                    :ervice support from eilh€r strtes or thc
                                    federal government

                                    rc
                                   W                                              Line 309




L32:  Notionally, a roaming operation between a large telco and a smalltelco implies that a cell
phone user is in motion and has crossed between two service areas. However this is not the
only scenario that will generate roaming operations. ln 2009, what I found was that stationary
users that are in RF contact with two towers, or two cells on the same tower, were producing
approximately half of al! 3G roaming operations in the Verizon network, nationwide.




   daily commute:                                                                daily home location:



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ln approximately 60% of all connections made, the phone is in the signal path of two or more
network elements, such as two towers (-33o/o) or two sectors on the same tower (-66%).




                                                                                                                        l
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L33: !f the signal strength of the individual network elements is approximately equal, the phone
will exhibit a phenomena referred to as "toggling", as shown below (upper right).

 By analyzing 3G per call measurement data, I was able to identify moving users and to
estimate the fraction of roaming operations that were due to moving versus stationary cell
phones.



("cell phone"     =   "UATI" or'AT" in the 39 nomenclature below)


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      -1/15th of UAIIs show motion during the      ,
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      hour
      Togglers and strong primary AIs are   -
      evenly split.

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L34: The plots    above show data from three individual phones, taken over a t hour period.
Each point is generated when the phone made a data connection to the 3G network. The Y
axis represents an index into a running list of unique network elements that the mobile has used
to start connections on during the hour (the mobile uses the strongest received signal to start
the connection).

L35:     ln the upper left, the phone always starts on the same network element. ln the upper
right, the phone starts randomly on either of two network elements. ln the lower right, the phone
is initially stationary with a strong primary, and then begins to move and traverses -16 network
elements and then stops moving. After the phone stops, it is toggling between 34 network
elements.
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L36: The toggling phenomena also occurs while the phone is in the connected state and cause
roaming operations to be initiated, which can lead to the phone dropping and then re-adding the
network elements (randomly).

L37:  The data below shows a packet capture of a stationary phone that is togging and
dropping and re-adding a network element. This data was given to me by Steve Sommars in
approximately 2008 after he had observed the toggling phenomena in a live field site.


         Packet capture of an AT adding/dropping a single leg



         m - h !tub.            X 1a,292i dc-2-6.-t,
        k9€{01d05   tml 10.220-?a.205 I0-2U.38.10        [DnE 292 16 I O (D[t292, .clo.lal-Z. hrFI)
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         h9440!d05 ArCReq lO-20{-S.lO LO-2?O-11-2OB ?S0 16 I0-20{-S-1?
       L 0t9840!d05 IICn.q f0.2oajS-f0 E-zz0-7s.Ia ?so Zr I0.a0{.S.17
      91 0r9B40rdoE f,Icn.s l0-z2O-?5-f4 10-20{-34-Io ?50 292 tuc.sJ
         0r9A{0!d05 LICAe' lO-?2O-74-206 10-204-34"I0 ?SO 16 Scccs.
        a-p1    lu    g "h)
        0r9E{OldOS   k.rs.k       LO-ZZO-?1-?O6 10-20{. S.I?   I rollpr.p h.t tbkl      16 9 l
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  [. k..p r0 to! bd l.r)
  !{9 &9840fdos R*erseki          Lo-ZZO-?5-L1 I0.28{-3S.I? I nollpE.So BeerilhB.t      292 l4 0
  Ia9 0r98a0td05 ldr!r.*l         I0-220.?S.I{ lO.zO{-38,I? EBf,IlnU 16 { O 0
       t& m dqE tr 2t2,
        OrgB{OldoS necrrcf!  LO.Z2O-1a-?O6 IO-Zm,3A-17 I horlp3.@           Blrrcrhbt   292    t{   O
        or9e0a05 Rd.lsek     LO.2ZO-14.2O6 I0-zM-38-17 BUERM 16             { 00
        019*0ldog D.rTC I0.2m-38-]0 LA-ZZO-15-L4 1SO 292 o
       tE. oD .&      2t2 Dd  -E EodE I&,
        Oi98401d05   Rclrrlk  to-zzo-71-?06 f0-204.S.1? I aorlpr.@ &r.rkkt              16 9    I
        019840feE    n*ersek  to-Z?o-71-2OE f0-204.38-1? BUEIm 29? Lo I o
        0r9A{O!d05 lTCB.q 10.20{.38-IO rc.ZZO-75.I{ 15O Z9Z LO-?O4.35.17
        0i9840rd08 lrcDes I0-220-7s-1{ Io-204-38.10 ?90 292 tucest

        019840fd09 ne.lseEE       Ll-zz9-74.?OG r0-28-38.17 I no!1p6ep Bealerbkl        16 5 0
        0:9840td05 npr!r.k!       LO-z?o-7a-206 Io.Z04.3a-I? BUBRffi 292 I{ 0 o

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L38: With the cunent     value of !_drop_int, when averaged over a day, there will be a roughly
constant fraction of calls that toggle to the small telcos network and then drop the connection to
the large telco's network.
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 single band toggling:
   -    the stationary phone will begin all connections on the large telco's netvuork element, but
        it will also include all other network elements it can see in what is known and the "active
        sgt".
   -    RF fading occurs randomly between all network elements and can cause the phone to
        drop the the large telco's netMlrk element, in which case the small telco is serving the
        connection exclusively.




        large telco                                                                                                small telco



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                                                                  large telco subscriber



L39: When viewed in isolation, this stationary toggling scenario would be indiscernible from a
phone that is traveling between two service areas and the associated KPls could be argued to
be valid as a USF billable revenue.

L40: The proposal I made    in 2010 to change !_drop_int to -13dB would have eliminated most
of these stationary roaming events, nationwide. The spike at x=4sec (below) would have been
eliminated.


                   PCrilD data shorrE spikcs   in   RL SHO   add/drops at   I   and 4 scconds.

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                                                                                                 AP FO (rCativc)
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L41: ln 2010, at the time of the !_drop_int parameter trial, there was rapid growth (-5%/month)
in 3G network utilization due to users upgrading from non-smartphones to smartphones and
many of the large telco's switching systems were being run at near or over their rated capacity.
To meet this growth, Alcatel-Lucent was producing and installing 3G switching systems as fast
as possible, with some manufacturing facilities running three shifts.

L42: These excess roaming      operations were estimated to be adding a 10% capacity
degradation to the "switching servers" of the ALU 3G EVDO systems in use by the large telcos
at the time. The capacity of the switching servers was the performance limiting constraint of the
3G systems, thus by adopting my !_drop_int parameter change, the nationwide capacity of the
ALU 3G EVDO systems would have increased by approximately 10%.




Drive test data from a single phone. Ec/lo (S/S+N) vs time for all visible pilots. Measurement
rate is 10 per second.



 AT Drive Test
 Et/lo Data
  At the marked time
    interval, AT is
    stopped and can see
   two pilots.

  Average RC/lo is
  pl=-2.5                   6oq             I tttC

                             i\T
            dB
  p2=-5.5 dB                -J,             I l" lo

  Very little correlation
   in fu/lo after 1-2
   seconds
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            Pilot    1   v: Pilot 2 for stationary ATs, RUltil, all points in hour.



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  At cqrnection sGtup, soft slopG is                 mt    usad, rc Pl and El both gointo activc sat        (if
    rcportd in CR RUM).

  For toggting AT:
  lf    P2       fadcs out {A} for 4 scconds, it is droppcd, lt har to wait for Pl to fadc out to gct
                                                                         jotoaciivc.-r_
            ll                                                rs,,_ortutr.m                                 Alcatel-Lwent
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L43:  changing t_drop_int (as shown below) would have reduced the number of roaming
operations by eliminating the stationary togglers from the relevant KPls.



                                        Set T_drop_int = -1


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 This witl, make             it   harder to drop a leg from the acti\E s€t,
       IIACID Ertargs wi[[ go up, but R55l should not.
       For moving ATs, pilots will cventuatty weaken bctow                      -1 3dB    and drop.
       For stationary toggtcrs, presumably it would bc bcttcr to kccp both pitots at a[[ timcs
       (RL fading should not bc correlated with FL fadiry)
       fqr staUonrrf,qT!             with            lntrqf,      $A     will kccp an unrcccssary waak pitot in
      *0ve sct. (Sl-O drop @ .3sec may bc nggarc elggngiy.Alhn                               normat drop    @     gBEGIS"^.O
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L44: The Sprint 3G only network that has not been upgraded is likely generating USF billable
revenue roaming operations for small telcos that have not upgraded to 4G equipment either.




[L45]           how the later wire fraud(s) work



When the democrats turned on the cacm program in 2015, USF payments went up by
-$60M / month nationwide.

 Most of the increase went to seven states, TX, Wl, MN, lA, MO, Ml, and OH, that each
received - $Snll / month increases. KS, CA, lL, and lD also saw - $2lrl+ / month increases.



 US   states, cacm winners and non winners
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(Y axis = dollars per year,                   I   zeros)
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Using lowa as an example: lowa received         a -$50M / yr       increase, the majority of which went
to only three small telcos2l:

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(Y= dollars per year, 7 zeros)



The three cacm small telcos above that got large sudden increases would have presumably
needed large sudden increases to the number of "telecommunications services" that they
provide.




21
     https://drive.google.com/open?id=lxh4l jkOECqxR_K6Z_CNgD3jRcWl_dhlii\rVYHNfs6yAw
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dead spots on highways in the AT&T network in lowa with small telco iWireless filling the gap:




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Map of USF MF-ll eligible areas for this same area:



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L46:  The complaint and exhibit J have further examples, however, as detailed below, the
heatmap tool has been de-tuned as of July 2019 such that the gaps are significantly harder to
discern.
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147: All of the AT&T subscribers that drive on that highway (either direction) will be forced to
roam to one of the other providers. This would have the effect of inflating the roaming counts
and billable revenue of the small telco "iWireless".

L48: This mechanism would presumably use the raw number of connections made by the
captive AT&T roamers while they transited the gap. Smartphones average approximately 10
data connections per hour (mostly autonomous) and these KPls could be used by the small
telcos as a basis for reported revenue to USAC.

L49:  Such a dead spot could have been tumed on at any time. Presumably it would have
been tumed on at the 2015 cacm program funding change so that the USAC audits would not
fail.

L50: There is a software feature in the 3G networks called "distance based handoff'. The
feature worked by sending the phone a distance parameter which it would use as a threshold to
initiate a roaming operation to another network element. This design may sound sensible to a
non expert, but to me it makes no sense. There was never a reason during the 20 year span of
lX voice to develop such a roaming feature. All roaming decisions have been based on signal
strength in 1X and 3G prior to this feature.

L51   :
      The most plausible explanation for this feature is that it is used as part of the USF wire
fraud. The highway gaps above could be made using a similar such 4G function.
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[L-52] Trump's surprise victory and the start of the acam program



The state level funding changes after the acam program was turned on in Jan 2017 are shown - 8
zeros.

  US   states, acam winners and non winners
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L53:  Some smalltelcos got large sudden increases when the acam program was turned on. They
would also presumably need a large sudden increases to their telecommunications services KPls.

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L54:   lntroducing red spots into an existing Verizon market would force more in-call inter-band
roaming operations. The town of Keyes OK appears anonymously red in the OK panhandle. At the
time I made this screenshot ! also checked the signal strength for the small telco United Wireless
and found that it had bright green coverage in Keyes.




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L55: ln 2014,it appears that there was an industry wide freeze enacted on smartphone based
measurement systems (paragraph 378). A plausible explanation for this is that the designers
of the cacm/acam programs realized that third party smartphone based measurement systems
could detect the wire fraud, either as the sudden appearance of a red spot or a highway gap in
a large telco's network in the USF subsidy areas.
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L56:   Red Spots: dual band scenario

- adjusting the downtilt of an existing network element will force the existing large telco
subscribers in the coverage area to do more in-call inter-band roaming operations.



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[L-57] qui-tam and class action legalvulnerabilities

Under the legal assumption that USAC is part of the government, the large telcos are causing
the small telcos to report false data to the government, which would seem to expose them to
qui-tam lawsuits.

When the cacm and acam programs were tumed on, there were several hundreds of small
telcos that received large increases in their monthly USF payments. These small telcos must all
survive random USAC audits that correlate their billable revenue to actual "telecommunications
services" that they provided.

To use Pioneer Telecom as an example, the plot above indicates they received a 100%
increase in their total USF payment starting in Feb 2017. The number of telecommunications
services generated each day is relatively fixed in any given city or town, so for there to be a
100o/o increase in one specific small telco's network would be statistically impossible. Such a
sudden increase could be made, however, by detuning the overlay network of a large telco,
such as with a red spot or highway gap as shown.

L58: The small telcos that receive USF money are required to keep their raw KPI data for 5
years22. The detuning of the large telco's network would appear as a sudden and statistically
impossible increase in the smalltelco's KPI counts.

L59:   The small telcos are also required to deposit a portion (unknown %) of the USF monies
into an approved bank for a surety bond23.

L60:    ln the, so far unsuccessful, course of seeking legal representation for this matter, the
plaintiff interacted with several attomeys that specialize in false claim cases. One attorney
told me that quitam cases involving fraud on government contracts are numerous and easy to
win. ln my case the false claim is very complex and beyond the practice area of most qui tam
attorneys. I was also told that these cases will come to a jury trial, and that they usually will
have a whistleblower who "was in on it" to testifo, which gives high confidence of convincing the
jury.



This fraud has been ongoing since at least 2009 and possibly further and there are thousands of
smalltelcos involved. Presumably, after 16 years of the USF program making monthly subsidy
payments to these smalltelcos with very few questions asked or answered, there will be many



2 used to be 7 years but A. Pai recently changed it to 5 so more people could get broadband; I've lost
the reference, but that was the jist of a public statement Pai made that I read.
23
     https://www.womblehonddickinson.com/sites/default/files/2018-03/Erin%2OFitzgeraldo/"20RWA%2OTestimony-odf
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people (ex wives, former business partners, disgruntled employees, etc...) that have
knowledge of some specific irregularities and could be potential whistleblowers.

Class Action

L61: As described in the main complaint, the defendants seemed particularly worried about a
class action lawsuit. ln the callwith my disability advocate nurse described in paragraph 122,
Christy (whom I suspect was being coached) developed a sudden and specific interest in class
action law firms when the topic came up.

 I have since leamed that these types of lawsuits are often funded by individual investors or
organizations such as hedge funds, or they are self funded by the pursuing law firm. ln (Del
Signore vs Nokia) the underlying fraud is being committed by the large telcos in collusion with
both political parties. There may be individuals, organizations, or law firms that would want to
self fund such an endeavor, but in the plaintiffs experience, the nature of the defendants
provides a great disincentive.

L62:   However the State Attomey Generals are in a constitutional position to prosecute this
case as a class action. As described, the lL AG has been non responsive. A possible next
step is then a 50 state campaign of volunteers to submit this information to all 50 state AGs at
the same time.




lL-631 lndustry Collusion 2018-2019

The PC based version of the OpenSignal heatmap tool was used in my second ethic report in
Sept. 2018. This tool made the heatmap of the OK panhandle shown above. My ethics report
was also submitted to multiple Federal email tip lines as well as ex parte to Verizon councilAlan
Buzzacott.
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(screen shot of OpenSignal browser heatmap tool taken approximately Sept 2018)

Approximately one month later, I wanted to take more screenshots and I found that the tool had
been taken offline. This tool had been online since 201124. OpenSignal is a privately owned
company, however Wikipedia lists QualComm as one of the owners.

 The PC based version of the tool would allow filtering by year and quarter. lf the highway gaps
or red spots appear coincident with the start of the cacm/acam programs, that would provide
visual proof of the wire fraud.

L64:   The smartphone based OpenSignal heatmap toolwas left online however and I used it to
collect further heatmaps as given below and in exhibit J25.

L65:  ln Nov-Dec I assembled the heatmaps in exhibit J using the smartphone based tool and
then submitted this new information as an amended complaint in Dec 2018.

L66: Subsequently, it appears that the smartphone tool has been detuned further by reducing
the time period over which it displays aggregated data. As can be seen below, this makes the
gaps impossible to discern.




24
     http://www.cnn.com/201 1/TECH/mobile/02l1S/coverage.mapoing/index.html
25
     Exhibit J: https://drive.qoogle.com/ooen?id=1 llnu5dSgBOYZSsaUBSdS34zbvBu fiAS
     Case: 1:20-cv-04019 Document #: 1-3 Filed: 07/09/20 Page 34 of 44 PageID #:145




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    Also noted from this data is the gap in the I(A-OK panhandle region26 is no longer visible.




    26
         as detailed in complaint and Exhibit J
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lL-671          summary of protected activities, blacklisting, and harassment
                of the Plaintiff 2009 - 2018




The events listed below will be argued to be protected activities. A separate Motion for Summary
Judgement will detailthe points of law relevant to each statute for each protected activity. This
section will add information specific to each event that has not been included in the main complaint or
exhibits.
                                                                    covering statue:
                protected activity                                   lllinois SOX       CPFB


tI              2009 Verizon has too many roamers                     x       x
tI              2014 Kevin Ming Ken illogical meeting:                x       X
tI              2015 Neil's 1.5 sigma Sprint meeting:                 x       x
tI             2018   Feb Shannon       canceled                      x       x
t1             2018 June first ethics report:                         X       x
tI             2018   Aug witness list emailthread:                    x      x        x
I1             2018 Sept second ethics report:                         X      x        X


Between 2003 and 2010,1 had proposed and developed a series of technically successful
projects on the company's lx voice and 3G data systems2T.

I believe the blacklisting starts immediately after the 2010 field trial.


Following the 2010 field trial, my proposals for future projects began to be blocked; in particular
any work that had to do with the new 4G system.


20130059582 Adaptive User Equipment Registration for Communication Networks
20100120451 Method for paging a mobile unit based on previous network interactions
20090093263 Conservation of paging resources in a mobile switching center
2OO8O161OO7 VACATING LOW USAGE PACKET DATA SESSIONS IN A WIRELESS
COMMUNICATION SYSTEM
20080161OO4 ALLOCATING MEMORY TO LOW USAGE PACKET DATA SESSIONS IN A
WI RELESS COMMUN ICATION SYSTEM
20080101316 Method of excluding ineffective inter system page attempts
20070293245 Conservation of paging resources in a mobile switching center
20070281661 Method for determining if a mobile unit is transient
20060293037 Method for alerting a mobile unit of a missed call upon movement of the mobile
20050130624 Generating one or more triggered operations to prepaid service node based on connection
with intelligent peripheral component
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L68-70: During the period 2010-2015,1 believe I was passed over for promotion on two
occasions. Each occasion occurred as a breakup of the group I was in into two groups with my
existing manager taking some group members and the remainder being assigned to a new
manager.

L71: ln 2010, at the time of the field trial, my manager was Carl Spies. ln 2004, Carl, myself,
and Jen-Yen Ku had invented a feature called adaptive paging28. After this, I worked closely
with Cad and his group during the next several years and eventually joined Carl's group as a
"performance architect" in approximately 2007. I worked semi independently while in Carl's
group, however after the Verizon field trial in 2010, I recall that Carl said to me "l need to know
what you are working on".

L72:   Sometime shortly after the field trial, Carl made a surprise announcement on a group call
that he was being moved to another department and the group was getting a new manager;
also he said he was going to take some of the group members with him.

L73:  Carl cast this change as administrative, but it is clear in hindsight that this was the
equivalent of being passed over for promotion. The group members Carl took with him have all
advanced within the company into 4G.

L74: Shortly after Garl made this announcement, I saw him standing in the hallway, talking to
some other group members. I remember that when I approached them, Carl turned and looked
at me, and when he did, his face dropped into a guilty expression for a moment and then he
looked away. Based on this, I now suspect that Carl had been told to leave me behind at this
point.

L75:   My new Manager was Ming-Hsu Tu. I recall that we had our annual performance reviews
sometime shortly after he became my manager and I remember he told me "l won't be able to
protect you if there is a layoff'. This struck me as an odd notion; I had just finished a major
architectural project called "UATI compression" and I was deeply involved in the ongoing "data
explosion" (internal name) that was occuning due to the rise in smartphone penetration in the
US.


I had just met Ming and I thought at the time that his statement was       just boilerplate new
manager talk, however in retrospect, I think this statement he made was likely motivated by the
blacklisting. After working with Ming for several years, I can attest that he is not a manager to
use boilerplate phrases or say things he does not mean. I think that Ming may not have been
happy about the situation and he worked to get my 2013 abstract to BLTJ accepted and
published2e.


28
     http://onlinelibrarv.wiley.com/doi/1 0. 1 002/b|ti.20241 /abstract
re   htto://onlinelibrarv.wilev.com/doi/1 0. 1 002/blti.21 651 /abstract
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L76: Ming's group was split up in late 2012 or early 2013. I was placed in Kevin Menke's
group with two other group members who have also since been laid off. To the best of my
knowledge, everyone that went with Carl and everyone that went with Ming are stillwith the
company.

L77: The (zoomable) directory listing given below  is from a backup of the Documents folder of
my work laptop, made on the day I was laid off in Sept. 2015. The listing is only of the
powerpoint presentations and contains files from 2008-2015. The timestamp of the files is the
date that they were last modified. Some of the filenames are duplicated with a number
attached; this happens when the file was exchanged by email with someone who modified it and
retumed it to me and I saved it as a new copy, and then would usually use the new copy for
subsequent modifi cations.




L78: This listing and archive provided the documentary evidence which allowed me, in Jan
2019, to associate my 2009 !_drop_int study with Neil's 2015 behavior in the 1.5 sigma
meeting.

Severalfiles that are related to the wire fraud/harassment are excerpted below.


 1096704 Oct 12     2009 dynamic_dorm_time.ppt

       L79: This project was proposed  in 2009 and was eventually killed. I reintroduced this
       idea in 2015 and it became the project that was killed by IPRC in the late Spring,
       preceded by the'Amit you know damn well it will work" meeting.
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          Both proposals were shown to provide decreases in the drop call rate. lmprovements to
          the drop call rate were highly sought, so it is very peculiar that these features were killed.
          A likely explanation is that the DCR is somehow tied to the billable revenues generated
          at the small telcos.

          This proposal makes use of the fact that most mobiles are stationary and if the mobile
          has recent failures due to weak RF, then this information can be used to modiff the RF
          settings for subsequent connections. This proposal overcomes an architectural
          limitation imposed by the 3G standards to achieve this.




     474112 Jun 25 2009 LTE-high_leve!_paging.ppt
     837632 Feb 23 2010 TP and AP PO.ppt

          L80: These files are presentations I gave at two seperate bi-annualVerizon network
          planning meetings. These meetings were usually attended by about 40 Verizon
          personnel from different parts of the US. I recall that I had given talks at three meetings
          in a row and then my 4th talk was rejected and I subsequently wasn't invited to any
          further meetings.

          The 4th talk may have been related to the USF wire fraud and the [_drop_int trial. ln
          exhibit E30, when I reintroduced the !_drop_int trial in 2015, I describe several possible
          ways that the current setting could be adverse to system performance. ln 2010, in the
          4th talk, I had found an anomaly in the reverse link throughput, where the average RL
          throughput, of an area the size of 1/8th of a typical US metro market, would suddenly
          drop by -10% for random periods of time (1-2 hours), and then it would return to its
          previous trend line like nothing had happened. I was pursuing a theory that the reverse
          link power control mechanism was entering an anomalous state and causing this.

          I recall going to the network planning meeting lunch event to discuss this anomaly with a
          Verizon engineer (whose name I cannot recall, but he was from Russia and replaced
          Gene Carrucci) that I had been working with for about a year. He said he had "seen
          that too", but otherwise he seemed tense and non engaging. Lori X, the ALU meeting
          organizer that I had worked with during previous meetings, also seemed to be tense and
          watching me at the lunch.




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     https://drive.google.com/ooen?id=lfeCzMFqCGusTwMSXWQKsHTJGsTiBaP-x
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 2805760   Aug 3 2010 sho_drop_chalktalk.ppt

L81: This is the original t_drop_int study. The anomaly was detected in the summer         of 2009;
the chalktalk and field trial were in the spring of 2010




 398336 Mar 15 2011 EUPS_vs_Neff.ppt
 9160704 Jan 11 2012 Neff_and_Shannon.ppt

L82:   These two documents pertain to a feature called network load balancing. This feature
was invented by an engineer at Qualcomm and was implemented on the ALU and Ericson 3G
switching systems in 2011. The first document is an analysis of the proposed feature by a Bell
Labs engineer and the second is my same analysis, which was originally done in the Spring of
2011. This feature proved to be successful and was quickly deployed nationwide. The feature
worked by offloading users from a loaded tower-sector to an unloaded adjoining tower-sector.

This feature has an anti intuitive basis and initially there was skepticism of it working; "that won't
work, ...will it?" was a common first reaction. We subsequently held a meeting with the
Qualcomm engineer and he explained that he had used a proprietary RF simulation tool to
prove out the feature design. ln his analysis, he had predicted an optimal setting for a
parameter called "Neff' (number of effective users). I performed a separate analysis (above)
using empirical methods and a simple monte carlo simulation and I got the exact same result for
Neff.


However, from my analysis, I had also found that the initialfeature design was only capturing
about 50o/o of the potential benefit, due to the toggling phenomena. This is discussed in the
excerpt below from my analysis.
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 447795   Od 13 2011 Network Load Balancing Feature Enhancement using AT Average.ppb(

L83: The finding above was eventually worked into this proposal to extend the originalfeature
with a second sofhi/are feature. I discussed this proposalwith Sydney Bryson for severalweeks
by email and verbally and we eventually concluded that by simply changing !_drop_int by
approximately -5 dB, the same benefits would be realized without the need to make any
changes to the software. This was a very lucky development, like finding a hundred dollar bill
on the ground at an airporl

Much to my surprise, Sydney, who was in Carl's group at the time, stopped responding to me
after this.




1054446 Dec    3 2014    DTX_Dormancy_lmpact3.pptx

L84: This is the presentation  that detailed a parameter change that resulted in a 50% reduction
in the 3G connection drop rate in the Sprint network and for which I was given an increased
bonus in 2014  . This is the proposal that was anomalously delayed by 4 months in the
summer.
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This change only discounted dropped connections in which the drop occurred after there was no
further data to send (either direction) and the mobile was waiting to timeout normally (7s). The
network wide drop call rate dropped by half, but the total number of connections made network
wide did not.

Ithen used the software function DTX in combination with the 2009 design for "dynamic
dormancy time/'to develop the feature proposal discussed in the complaint (paragraphs 51-57)
that led to the "Amit you know damn well it willwork" meeting.




    2O9517OJan27   2015 EVDO Softslope T_drop_intercept ThresholdTrial.ppbr

L85: This is the proposal that I made to redo the !_drop_int study from 2010 and that
presumably caused Neil to try and fire me, again.




-nnrxrwxnlrx 2kwdl kwdl 84038 Apr 1 2015 ken_3-25.pptx
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-rwxrwxrwx 2 kwdl l<wd1 975440Apr 9 2015 ken_4_9.ppbr
-rvyxrwxrwx2 kwdl kwdl 418212Apr 9 2015 ken_4_9a.ppb(
-rwxrwxrwx 2 kwdl kwdl 530601 Apr 16 2015 ken_4_16.pptn
-rwxrwxrwx 2 kwdl kwdl 357710 Apr 28 2015ken_4_22.ppb<
-rwxrwxrwx 2 kwdl kwdl 319906 May 6 2015 ken_4_3O.ppfi
-ruvxrwxrwx 2 kwdl l<wd1 386765 May 7 2015 ken_S_7.ppk
-rwxnvxrwx 2 kwdl kwd1 347887 May 7 2015 ken_S_7a.ppil
-rwxrwxrwx 2 kwdl l<vvdl 657605 May 29 2015 ken_5_21.ppk
-rwxrwxrwx 2 kwdl l<wdl 267467 Jun 11 2015 ken_6_4.pptx
-rwxn/xrwx 2 kwdl l<wd1 218062 Jun 18 2015 ken_6_18.pptx
-rwxrwxrwx 2 kwdl kwdl 226065 Jun 25 2015 ken_6_25.pptx
-rwxrwxrwx2 kwdl lavdl 111475Jul 2 2015 ken_7_2.ppk
-ruD(rwxrwx 2 kwdl !ffdl 423651Ju| 9 2015 ken_7_9.ppk
-rwxrwxrwx 2 kwdl lffd1 366350 Jul 16 2015 ken_7_16.ppk
-rwxrwxrwx 2 kwdl l$rd1 432886 Jul22 2015ken_7_23.pptx
-rwxrwxrwx 2 kwdl 1$d1 '117306 Aug 25 2015 ken_8_4.ppk

L86: Starting (ironically)
                        on April 1st, 2015, Kevin instructed me to begin sending him weekly
summaries of my work. I suspect that the Sept. layoff was scheduled at this time and that this
was done to provide documentation for my coming layoff.

Fortuitously, I was able to (in Jan 2019) use these documents to reconstruct my work activities
in the Spring of 2015 as described in the complaint.
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          2015 Sept Layoff and offer of Demotion



          L87: ! suspect that I was offered the demotion instead of an outright layoff out of fear that I would
          file a wrongful discharge suit based on the anomalous events in the Spring. The plan would then be
          to lay me off in the next layoff that occurred in the test lab, which happened in Spring 2018.




          LGS April Fools Day joke



          L88: My assumption is that Chris Miranda would have to have authorized this. He knew me ten+
          years ago when I used to wear Levis to work and was sending April Fools Day jokes company wide.



          As noted in the complaint, this message now appears three times in my linkedin email account,
          which I would guess indicates the record has been manually touched and inadvertently altered.




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2017-2018 "The Cloud" and the Shannon Project


L89: As described in the complaint, in the Spring ot 2017 I found a new intemal position in a
division of the company called Applications and Analytics, working on "clorJd" based projects. ln
practice this was an entry level service desk position maintaining rack based (cloud) servers.
However A&A had been actively soliciting for new business proposals and I felt I could advance in
career from the new position.

L90:   The original project name was "pmud" (passively measured user data). The proposal was to
pay several thousand people -$5 to install the app and let it collect usage data in the background.
This data would be aggregated locally and uploaded periodically. As described in the complaint, my
original intent was not to measure RF data, but rather to collect data on physical user interactions
with the phone with the intent of finding flaws in the user interfaces using the analysis techniques
from my 2014 BLTJ paper.

L91:   ln late Jan 2018, I was instructed to add "one or two more team members". I approached a
longtime colleague Julian Giuo about the opportunity. Julian and I had worked together on various
projects dating back to the early 2000s. Julian was working in the test lab at the time and was very
interested in the opportunity as layoffs were rumoured to be coming.

L92:   I believe what happened next is that Julian asked around about my project to gather other
experts opinions on it, which would be a perfectly appropriate thing to do. There would be a risk for
Julian if the project was cancelled after the 6 month trial period ended. lf the project failed, he
would have been more vulnerable to a layoff upon return to the test lab.

L93:   Julian knew that Neil Bernstien had laid me off in Sept 2015. I suspect that Julian showed
my project proposal to Neil. I think that Neil must have given Julian negative feedback about the
project, because a couple days later when I next saw Julian, it was in a long hallway from about 50
yards away; we were approaching each other and I looked away for a second, and when I looked
back Julian was ducking into a stainrell; and that's the last time I ever saw Julian.

L94: The job offer was however discussed with two other colleagues who were very interested in
the opportunity and, in contrast, they stayed in close contact with me as the wild goose chases in
Finland unfolded for the next two months.

L95:   Neil's wife was the head of a similar Bell Labs project that was killed in 2014. I suspect that
Neilwent to the manager in charge of the business proposal program, Dione X, and told him to kill
the project and gave him the noun: "Bell Labs Project". I suspect this because thereafter I had three
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different excuses relayed to me from Dione and they were all based on some form of "The Bell Labs
Project... ".

L96:   The harassment that occurs after I went on disability (May 7th, 2018) is described in the
original complaint at paragraphs 98-131.



L97:    ln Jan. 2019 I accessed the archive of powerpoint presentations I had fortuitously made.
This showed that I had reintroduced my !_drop_int parameter study in Jan 2015. I had previously
documented Neil's Jan. behaviour with the explanation that he was trying to signal a negative
connotation regarding my smartphone based measurement proposals (which I had been sharing
with the Sprint team at the time). With this new information and from my expertise on the !_drop_int
parameter, I knew that roaming counts due to toggling phones would have been largely eliminated
and this allowed me to associate the 2009 !_drop_int study with the USF and the likey relation to
billable revenues.
